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                                                   United States Bankruptcy Court
                                                           Western District of Oklahoma
 In re    Juan Pablo Valdez                                                                                Case No.       24-12446
                                                                              Debtor(s)                    Chapter        13

                                                                    CHAPTER 13 PLAN
                                                                 Check if this is an amended plan


1. NOTICES:

To Debtors: This form sets out options that may be appropriate in some cases, but the presence of an option on the form does not indicate
            that the option is appropriate in your circumstances or that it is permissible in your judicial district. Plans that do not comply
            with local rules and judicial rulings may not be confirmable.

              In the following notice to creditors, you must check each box that applies.

To: Creditors: Your rights may be affected by this plan. Your claim may be reduced, modified or eliminated.

              You should read this plan carefully and discuss it with your attorney if you have one in this bankruptcy case. If you do not have an
              attorney, you may wish to consult one.

              If you oppose the plan’s treatment of your claim or any provision of this plan, you or your attorney must file an objection to
              confirmation at least 7 days before the date set for the hearing on confirmation, unless otherwise ordered by the Bankruptcy Court.
              The Bankruptcy Court may confirm this plan without further notice if no objection to confirmation is filed. See Bankruptcy Rule
              3015. In addition, you must file a timely proof of claim in order to be paid under any plan.

The plan contains nonstandard provisions set out in Section 10.                                                              Yes             No
The plan limits the amount of a secured claim based on a valuation of the collateral in accordance with Section              Yes             No
5.C.(2)(b).
The plan avoids a security interest or lien in accordance with Section 9.                                                    Yes             No

2. PAYMENTS TO THE TRUSTEE: The Debtor (or the Debtor’s employer) shall pay to the Trustee the sum of $276.25 per month for 3 months.
   If the plan payment structure is in the form of step payments, the payment structure is indicated below. Plan payments to the Trustee shall
   commence on or before 30 days after the Chapter 13 Petition is filed. The Debtor shall turn over such additional funds as required by law and/or
   any Court Order.

   Step payments                     $ $1,796.37 per month for 40 months

  Minimum total of plan payments: $72,683.55

  The Debtor intends to pay plan payments:
     TFS E-Wage
     TFS Recurring Automatic Payment
     Wage deduction from employer of:                                Debtor
                                                                     Joint Debtor

   Debtor's Pay Frequency:         Monthly          Semi-monthly (24 times per            Bi-weekly (26 times per year)     Weekly         Other
                                                 year)

   Joint Debtor's Pay Frequency:       Monthly              Semi-monthly (24 times per          Bi-weekly (26 times per        Weekly        Other
                                                         year)                              year)

3. PLAN LENGTH: This plan is a 43 month plan.

4. GENERAL PROVISIONS:

  a. As used herein, the term "Debtor" shall include both Debtors in a joint case.

  b. Student loans are non-dischargeable unless determined in an adversary proceeding to constitute an undue hardship under 11 U.S.C. §523(a)(8).

  c. The Trustee will make no disbursements to any creditor until an allowed proof of claim has been filed. In the case of a secured claim, the party
     filing the claim must attach proper proof of perfection of its security interest as a condition of payment by the Trustee.

  d. Creditors not advising the Trustee of address changes may be deemed to have abandoned their claims.
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  e. All property shall remain property of the estate and shall vest in the Debtor only upon dismissal, discharge, conversion or other specific Order of
     the Court. The Debtor shall be responsible for the preservation and protection of all property of the estate not transferred to and in the actual
     possession of the Trustee.

  f. Secured creditors listed in Paragraphs 5(C)(2)(a) and 5(C)(2)(b), below, shall retain liens until the earlier of payment of the underlying debt
     determined by nonbankruptcy law or, if a Proof of Claim is filed, the entry of an order granting discharge. Secured claims extending beyond the
     length of the plan listed in Paragraphs 5(C)(3) and 5(C)(4), below, will not be discharged pursuant to 11 U.S.C. § 1328(a)(1).

  g. The debtor is prohibited from incurring any debts except such debts approved pursuant to the Court’s directives or as necessary for medical or
     hospital care.

5. DISBURSEMENTS TO BE MADE BY TRUSTEE:

  A. ADMINISTRATIVE EXPENSES:
    (1) Estimated Trustee's Fee: 10%
    (2) Attorney's Fee (unpaid portion): $1,700.00 to be paid through plan in monthly payments

  B. PRIORITY CLAIMS UNDER 11 U.S.C. § 507:

    (1) DOMESTIC SUPPORT OBLIGATIONS:

        (a) Debtor is required to pay all post-petition domestic support obligations directly to the holder of the claim.

        (b) The name(s) of the holder(s) of any domestic support obligation are as follows:


        (c) Anticipated Domestic Support Obligation Arrearage Claims. Unless otherwise specified in this Plan, priority claims under 11 U.S.C. §
        507(a)(1) will be paid in full pursuant to 11 U.S.C. § 1322(a)(2). These claims will be paid at the same time as secured claims. Any allowed
        claim for a domestic support obligation that remains payable to the original creditor shall be paid in full pursuant to the filed claim, unless
        limited by separate Court Order or filed Stipulation.

           Arrearage shall be paid through wage assignment, pursuant to previous Order entered by a non-bankruptcy Court.

           Arrearage shall be paid in full through the plan.

Name                                                           Estimated arrearage claim               Projected monthly arrearage payment in plan
-NONE-

        (d) Pursuant to §§ 507(a)(1)(B) and 1322(a)(4), the following domestic support obligation claims are assigned to, owed to, or recoverable by
        a governmental unit, and shall be paid as follows:

         Claimant and proposed treatment:

    (2) OTHER PRIORITY CLAIMS:

        (a) Pre-petition and/or post-petition priority tax claims shall be paid in full pursuant to the filed claim unless limited by separate Court Order
        or filed Stipulation.

Name                                                                                                                                    Estimated Claim
-NONE-

        (b) All other holders of priority claims listed below shall be paid in full as follows:

Name                                                                                                                                   Amount of Claim
Huberto Trejo                                                                                                                              $2,000.00
IRS                                                                                                                                        $4,800.00

  C. SECURED CLAIMS:

  (1) PRE-CONFIRMATION ADEQUATE PROTECTION: Pre-confirmation adequate protection payments to the following Creditors holding
  allowed claims secured by a purchase money security interest in personal property shall be paid by the Trustee through the plan as provided below.
  Adequate protection payments shall not be paid until the Creditor files a proof of claim, with proper proof of security attached.

Name                                                           Collateral Description                          Pre-Confirmation Monthly Payment
-NONE-

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  (2) SECURED DEBTS WHICH WILL NOT EXTEND BEYOND THE LENGTH OF THE PLAN:

      (a) SECURED CLAIMS NOT SUBJECT TO VALUATION: Secured creditors with a purchase money security interest securing a debt
      either incurred within the 910-day period preceding the filing of the bankruptcy petition where the collateral is a motor vehicle acquired for
      personal use, or incurred within the 1-year period preceding the bankruptcy petition where the collateral is any other thing of value, shall be
      paid in full with interest at the rate stated below. The amount stated on an allowed proof of claim controls over any contrary amount listed
      below.

Name                                     Collateral Description             Estimated Amount of               Monthly Payment          Interest Rate
                                                                            Claim
-NONE-                                                                                                                                                 %

      (b) SECURED CLAIMS SUBJECT TO VALUATION: All other secured creditors, except secured tax creditors, shall be paid the proposed
      secured value with interest in the amounts stated below. To the extent the proposed secured value exceeds the secured claim, only the claim
      amount, plus interest shall be paid. Secured tax claims shall be paid as filed unless limited by separate Court Order.
      NOTE: The valuation of real estate requires the filing of a motion to determine value and the entry of a separate Court Order before any
      proposed secured value of real estate stated below may be approved.

Name                                     Collateral Description             Proposed Secured Value            Monthly Payment          Interest Rate
-NONE-                                                                                                                                                 %

  (3) DEBTS SECURED BY PRINCIPAL RESIDENCE WHICH WILL EXTEND BEYOND THE LENGTH OF THE PLAN
  (LONG-TERM DEBTS):

Name                        Collateral Description                *Monthly              1st Post-petition      *Estimated Amt of          Interest on
                                                                  Ongoing Pymt          Payment                Arrearage                  Arrearage
                            9808 S Hillcrest Drive
                            Oklahoma City, OK 73159
                            Cleveland County
Freedom Mortgage            SHADOW LAKE VILLAGE I
Corporation                 LOT 13 BLK 7                                $1,360.00                                          $2,514.27          0.00         %

*The “1st post-petition payment” is the monthly ongoing mortgage payment which comes due between the petition date and the due date of the first
plan payment. The arrearage amounts, monthly ongoing payment, and 1st post-petition payment are estimated and will be paid according to the
amount stated on the claim unless objected to and limited by separate Court Order. The interest rate to be paid on the arrearage and the 1st
post-petition payment is reflected above.

  (4) OTHER SECURED DEBTS WHICH WILL EXTEND BEYOND THE LENGTH OF THE PLAN (LONG-TERM DEBTS):

Name                        Collateral Description             *Monthly Ongoing         1st Post-petition     *Estimated Amt of         Interest on
                                                               Pymt                     Payment               Arrearage                 Arrearage

-NONE-                                                                                                                                                     %

 *The “1st post-petition payment” is the monthly ongoing payment which comes due between the petition date and the due date of the first plan
payment. The arrearage amounts, monthly ongoing payment, and 1st post-petition payment are estimated and will be paid according to the amount
stated on the claim unless objected to and limited by separate Court Order. The interest rate to be paid on the arrearage and the 1st post-petition
payment is reflected above.

  D. UNSECURED CLAIMS:

      (1) Special Nonpriority Unsecured claims shall be paid in full plus interest at the rate stated below, as follows:

Name                                                          Amount of Claim                                  Interest Rate
-NONE-                                                                                                                              %

      (2) General Nonpriority Unsecured: Other unsecured creditors shall be paid pro-rata approximately 0.00 percent, unless the plan guarantees a
          set dividend as follows:

          Guaranteed dividend to non-priority unsecured creditors: $0.00

6. DIRECT PAYMENTS BY DEBTOR: The Debtor shall make regular payments directly to the following creditors:

Name                                          Amount of Claim                   Monthly Payment                Collateral Description if Applicable
-NONE-

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NOTE: Direct payment will be allowed only if the debtor is current on the obligation, the last payment on the obligation comes due after the last
payment under this plan, and no unfair preference is created by the direct payment.

7. EXECUTORY CONTRACTS AND UNEXPIRED LEASES: The plan rejects all executory contracts and unexpired leases, except as follows:

Name                                                    Description of Contract or Lease
-NONE-

8. SURRENDERED PROPERTY: The following property is to be surrendered to the secured creditor, with a deficiency allowed, unless specified
otherwise. The Debtor requests the automatic stay be terminated as to the surrendered collateral upon entry of Order Confirming Plan or other Order
of the Court.

Name                                                    Amount of Claim              Collateral Description
-NONE-

9. LIEN AVOIDANCE: No lien will be avoided by the confirmation of this plan. Liens may be avoided only by separate Court Order, upon proper
Motion including reasonable notice and opportunity for hearing.

Liens Debtor intends to avoid:

Name                                                    Amount of Claim              Description of Property
-NONE-

10. NONSTANDARD PLAN PROVISIONS: Any nonstandard provision placed elsewhere in this plan is void.

There may not be sufficient funds available to pay the set monthly payments as proposed , however all payments due to creditors shall be paid
within the term of the plan as provided for in the plan.



   By checking this box certification is made by the Debtor, if not represented by an attorney, or the Attorney for Debtor, that the plan contains no
nonstandard provision other than those set out in this paragraph.


Date     November 13, 2024                            Signature     /s/ Juan Pablo Valdez
                                                                    Debtor
                                                                    Printed Name: Juan Pablo Valdez
Date                                                  Signature
                                                                    Joint Debtor
                                                                    Printed Name:

/s/ Jeffrey E. West, Attorney for Debtor(s)
Jeffrey E. West, Attorney for Debtor(s)
OBA #18871
DebtKillerOK.com, Inc
2525 NW Expressway, Ste 531
Oklahoma City, OK 73112
405-616-4949
405-225-2700
jeff@westbklaw.com
Counsel for Debtor(s)
                                                             CERTIFICATE OF SERVICE

   A separate certificate of service will be filed in the record.

    This is to certify that on     , a true and correct copy of the foregoing Chapter 13 Plan was mailed by U.S. Mail, postage prepaid, to the parties
listed on the attached matrix.

                                                                             /s/ Jeffrey E. West, Attorney for Debtor(s) OBA
                                                                             Jeffrey E. West, Attorney for Debtor(s) OBA #18871




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                                         United States Bankruptcy Court
                                              Western District of Oklahoma
 In re   Juan Pablo Valdez                                                             Case No.   24-12446
                                                             Debtor(s)                 Chapter    13



                                           CERTIFICATE OF SERVICE
I hereby certify that on November 13, 2024, a true and correct copy of the Amended Chapter 13 Plan, filed on
November 13, 2024 was electronically served using the CM/ECF system, namely: John Hardeman, Chapter 13
Trustee. Further, I certify that on November 13, 2024 copies of the Debtors Amended Chapter 13 Plan filed
on November 13, 2024 were forwarded via United States mail, first class, postage prepaid and properly
addressed to the following at the addresses shown below.


Aspire Credit Card, Attn: Bankruptcy, Po Box 105555, Atlanta, GA 30348
Capital One, Attn: Bankruptcy, Po Box 30285, Salt Lake City, UT 84130
Citibank/The Home Depot, Citicorp Cr Srvs/Centralized Bankruptcy, Po Box 790040, St Louis, MO 63179
Comenity Capital/Acadmy, Attn: Bankruptcy, Po Box 182125, Columbus, OH 43218
Crb/momnt, 4 Concourse Parkway, Sandy Springs, GA 30328
Crconnauto, 2725 S Midwest Blvd, Midwest City, OK 73110
Destiny Card, PO Box 23030, Columbus, GA 31902-3030
First Electronic Bank, 2150 S 1300 E #400, Salt Lake City, UT 84106
First Fidelity Bank, Attn: Bankruptcy, Po Box 32282, Oklahoma City, OK 73123
First Premier Bank, Attn: Bankruptcy, 601 S Minneapolis Ave, Sioux Falls, SD 57104
Fnb Omaha, Attn: Bankruptcy, P.O. Box 3128, Omaha, NE 68103
Freedom Mortgage Corporation, Attn: Bankruptcy, 907 Pleasant Valley Ave, Ste 3, Mt Laurel, NJ 08054
FreedomPlus, Attn: Bankruptcy, 1875 South Grant St, Ste 400, San Mateo, CA 94402
Genesis FS Card Services, Attn: Bankruptcy, Po Box 4477, Beaverton, OR 97076
Huberto Trejo, c/o Cody Kerns, 1741 W 33rd St STe 120, Edmond, OK 73013
Huberto Trejo, c/o Cody Kerns, 1741 W 33rd St STe 120, Edmond, OK 73013
Humberto Trejo Dominguez, 515 SW Grand Blvd, Oklahoma City, OK 73109
IRS, Attn: Legal Division, PO Box 7346, Philadelphia, PA 19101-7346
Jefferson Capital Systems, LLC, Attn: Bankruptcy, 200 14th Ave E, Sartell, MN 56377
Kruger Investment Company, 105 N Hudson Ste 200A, Oklahoma City, OK 73102
McCalla Raymer Leibert Pierce LLC, 1544 Old Alabama Rd, Roswell, GA 30076
Minto Money, PO BOX 58112, Minto, AK 99758
Momnt Loan, 4 Concourse Pkwy #150, Atlanta, GA 30328
PenFed CU, 2930 Eisenhower Ave, Alexandria, VA 22314
PNC Financial Services, Attn: Bankruptcy, 300 Fifth Avenue The Tower At Pnc Plaza, Pittsburgh, PA 15222
Synchrony Bank/Care Credit, Attn: Bankruptcy, Po Box 965060, Orlando, FL 32896
Synchrony Bank/HHGregg, Attn: Bankruptcy, Po Box 965060, Orlando, FL 32896
Synchrony Bank/JCPenney, Attn: Bankruptcy, Po Box 965060, Orlando, FL 32896
Teague & Wetsel, PLLC, 1741 W 33rd St #120, Edmond, OK 73013



                                                          /s/ Jeffrey E. West, Attorney for Debtor(s) OBA
                                                          Jeffrey E. West, Attorney for Debtor(s) OBA #18871
                                                          Bankruptcy Legal Counseling Center of OK
                                                          DebtKillerOK.com, Inc
                                                          2525 NW Expressway, Ste 531
                                                          Oklahoma City, OK 73112
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